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EXHIBIT 8
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3
tN THE UNITED STATES DISTRICT COURT 1 INDEX
FOR THE DISTRICT OF MASSACHUSETTS 2 WITNESS: JAMES R. CATO
IN RE: NEURONTIN MARKETING, SALES ) 3 INDEX OF EXAMINATIONS
PRACTICES AND PRODUCTS LIABILITY ) 4 Page/Line
LITIGATION ) 5 By Mr. Evans aw 6 10
} 6 ByMr. Sohe i. . 70 9
5 7 BY Mr, Evans woes 84° 23
} a INDEX OF EXHIBITS
} 9 Page/Line
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, 11 No.2 Late Fited..., . 85 17
}04-10981 penn
12
THIS DOCUMENT RELATES TO: } 43
} 14
RUTH SMITH, Individually and as} 45
Widow for the use and benefit of ) 16
herself and the nextofkinof ) 17
Richard Smith, deceased. } 18
) 19
05-CV-11515 ) 20
) 21
VIDEOTAPED DEPOSITION OF 22
JAMES R. CATO, M.D. 23
Taken on Behall of the Defendant 24
June 29, 2007 25
4
1 APPEARANCES: 1
; For Oe arn 8. SOH 2 The videotaped deposition of JAMES R.
Lanier Law Firm 3. CATO, M.O., taken on behalf of the Defendant, on
4 6810 F.M. 1960 West 4 the 29th day of June, 2007, in the offices of
5 eee enon 77069 5 Heritage Medical Associates, 2325 Crestmoor Road,
713,659,641 6 6 Nashville, Tennessee, for all purposes under the
8 wmil@lanierlawfirm com 7 Federal Rules of Civil Procedure.
7 kss@tanienawiirm.cam 8 The formalities as to notice,
8 For the Defendant: 9 caption, certificate, et cetera, are waived. All
9 CEDRIC E. EVANS 10 = abjections, except as to the form of the
Wi
19 cee & Winters 11 questions, are reserved te the hearing.
Austin, Texas 78767 12 It is agreed that Elisabeth A.
1 oa tips 13. Miller, being a Notary Public and Court Reporter
42 Kif@ctw.com 14 for the State of Tennessee, may swear the witness,
cee@ciw.com 15 and that the reading and signing of the completed
43 ie _ :
16 4d tion by.the witness are waived.
414 Also Present: Sheldon Singh, Videographer posivon By nne wi
Wes Henry, Videographer 17
15 18
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7 19
18 20 wee
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61 63

4 Q. Okay. And you - 1 knees and ankies hurt.“ What is that -- pricking,

2 A. And we don't note it on our office note. 2 ~~ what does that mean?

3. We had this special sheet that we — it's kind of 3. A. | presume -- | presume that's a form of

4 a flow sheot that wa noted medicines. 4 pain like pins sticking you. | don't remember

5 @. Allright. So as we sit here right now, 5 specifically. That's probably how he described

6 = you do not believe you prescribed Neurontin tor 6 it. .

7 Mr. Smith? 7 Qh, and let me just ask you this, other

68 4A. And we also have another sheet where we 8 than what be — what would be noted in your chart
9 put down all prescriptions that we write, and | 9 — interms of Mr. Smith being on Neurontin, do you
49 find no evidence that we wrote any prescriptions 10 have any other information about any other times
11 for that. 11. that Mr. Smith would have been taking Neurontin?
12 4. Se you do not believe that you prescribed 12, A. No. ,

43° Neurontin? 13°.) Okay. Al right. What did you do to --

14 A. No,I donot. 14 to treat him far the -- the problems that he

15 @. Allright. He came to see you again on 15 complained about when you saw him on January 20,
16 June the 27th of 20037 16 = 2004?

17. A. Correct. 47 =A. | said —- | —- the diagnosis was

48 Q. And, again, you note anxiety/depression? 48  postlaminectomy lumbar, which is the ICD9 code,
19 «=A. Yeah, and | -- but | also said he was 19 which is just the disease code. Every disease has
20 doing - 20  acode, but that was my impression. Still having
21.3. Right. 21. some leg problems, maybe arthritic. Prasenbed
22 =A. --doing well. Overall improved. 22 ~=‘Bextra, which is a COX-2 inhibitor, which has also
23° #. Now, were you -- were you referring to the 23° been taken off tha market.

24 ~— overall improved in tarms of his — his ongoing 24 Q. Allright. Looking at your February 23rd,

25 ~~ pain or with respect to the anxiety/depression? 25 2004, note, it looks like here the chief

62 64

41 A. You know, | didn’t note that, but | think 1 complaints were hypertension, chest tightness.

2 ___ it's prabably more related to the depression. 2 A. Right.

3° Q@. Okay. And you noted that he was off “3  . Left shoulder pain.

4 Lexapro at that time? 4 A. Rigat.

& A. Yeah, because | had given him samples, and 5 Q. He noted, it looks like, in your -- in

6  heran out. 6 your history of present illness that, quate, it

7 @. — But you still noted that you thought he 7 hurts to move?

8 was suffering from a postlaminectomy syndrome? 8 A. Right.

9 A. Yes. But1also noted that he had 9 QQ. Wasit your understanding that it -- did

10 = improved. 10 ‘that — did that relate to his shoulder pain?

11. @. ~— Albright. He came to -- to see you on — 4100=« AL Correct.

12 switching to your computer? 12 Q. Okay. And you also note that he was still
13. A. Switching tc the computer. 13 having a jot of pain in his back and legs?

14. Q@. Okay. All right. January 20th of 20047 14 A. Right.

15 A. Correct. 15,  Andhe was actually getting a second

16 Q. And he was there for an evaluation, a 16 opinion. He saw a Dr. Shell and a Dr, Mackey for
17 follow-up evaluation, Was he continuing to 47 a second opinion? : ,

48 complain of pain in his back? 18 A. Correct.

49° «OAS. 19 @. Do you know what the -- what the nature of
20 @. Hewas also complaining of pain in his 20 ~~ the second opinion was?

21 ankles? 21 A. Well, | think it was related to the fact

22 =A. Correct, from his back to his ankles. 22 that he was still having a lot of problems. He

23. Q. ~~ Fromhis back te his ankles? Okay, And 23° noted he had a myelogram but had not -- didn't
24 alsa he was complaining of some -- some -- it 24 ~~ have the results of that yet.

25 says, “Having problems with pricking, and back 25 @. Okay. Andas | asked you — I think |

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1 Q. In that visit with you, he did not mention 1 Lexapro and desipramine?

2 any acute pain or any acute problems that he had 2 A. Desipramine.

3 at that time, correct? 3 Q. Desipramine for him, correct?

4 A. Correct, 4 A. Correct.

6 @. Allright. You did not diagnose him as 5 @. And then you neted that about six weeks
6 depressed, did you? 6 later he was no longer -- he was off Lexapro, and
7 A No. 7 ~=he was doing better?

6 @. Okay. And did you have any thought that 8 A. Correct.

9 he was suicidal two months before he passed away? 9 .  Atthat point in time, do you believe that
10 =A. ONO. 10 he was depressed -- in June of 2003, do you

11. @. ~~ Allright. Let's go back to the previous 11° believe that Mr. Smith was dapressed?

12 visit, which was in February 23rd of 2004. Do you 12 A. [thought he was better at that point.

13° want to lock at it on paper, or do you want to 13° QQ. Okay. No longer depressed?

14 look at it on the computer? 14. A. Correct.

16 A. |don't care. 156 © Allright. Let me just note here, if you

16 OQ. Okay. Thank you. 16 want to look at the May record --

a Again, was there any suggestion to you 17 A. Okay.

18 that he was depressed in February 20 -- February 18 =. ~~ -- of 2003, it says he's -- it looks like

19 of 20047 19 he's 204 pounds.

20 A, Did not note it. 20 A. Correct,

21 @. — Is there any suggestion that he was . 21) ©, ~~ That's about your recollectian of him, of
22 ~~‘ suicidal in February of 2004? 22 his weight?

23° =A. No. 23. =A.  Hewas probably -- he probably weighed
24 Q. ~~ Allright. Let's go back to the prior 24s more than that over the years.

25 ~—svisit. | have it down as January 20th, 2004, 25 ©. And then he lost weight?

74 76

1 again, approximately four months before he passed 4 A. Right.

2. away. All right. 2 @. tm 20037

3 Is there any suggestion that he was 3. A. Correct.

4 depressed in this visit? 4 @.  Partof your suggestion of -- probably

5 A. No. 5 part of your suggestion of helping ease his

6 @. — Isthere any suggestion he was suicidal in 6 musculoskeletal pain?

7 this visit? 7 A. And probably the fact that he had been

8 A. No. 8 — sick with the surgery.

9 @Q.~ If hewas suicidal, you — at any potnt in 9 @, Okay. The lawyer for Pfizer

10 time that you saw him, you would have taken 40  Warner-Lambert want through a lot of sort of

11. medica! measures to -- for his ~ for the 11 conditions or things over a 15-year period where
12. patient's safety, correct? 42. he had some pain with you. Okay. ! just want to
13 A. Yes. 13° touch upon those very briefly. You don't even
14 Q. ~~ Allright. Let's go back to —| want to 44 need your notes.

15 show yau the visit he had before then, which | 15 A. Okay.

16 have down as June 27th, 2003, okay? 16. But I just wantit clear. Okay.

7 OAL OYep. 17 He had prostate pain in 19897

18 Q. You said you tock him -- | guess and — 18 A. Correct.

19 and then | want -- the other one | want to talk to 19 @. That eventually cleared up?

20 you about very briefly is -- in conjunction with 2000 A. Correct.

21s that visit is the visit he had immediately before 21. @, ~~ Noalonger had the pain?
22 that which was May 15th of 2003, correct? 22 A. Correct.
23. =A. Right. , 23° = @. He had jaw pain in 19907
24 Q. May 15th, 2003, you wrote — you diagnosed 24 =A. Right.
25 Mr. Smith as being depressed, and you prescribed 25 @. ~~ Thatcleared up, no longer had the pain?

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